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CAMERON L. ATKINSON, ESQ. (catkinson@atkinsonlawfirm.com)

                                                                               July 25, 2023
Mrs. Catherine O’Hagan-Wolfe
Clerk – United States Court of Appeals For The Second Circuit
40 Foley Square,
New York, NY 10007

Via CM/ECF Only

RE:    Khan v. Yale University, et al., No. 21-95 – Request To Withdraw Appearance

       Greetings Mrs. O’Hagan-Wolfe

      Per your office’s instructions, I write to request the withdrawal of my appearance
on behalf of the Appellant, Saifullah Khan, in the above-captioned matter.

       Mr. Khan has always been represented by the firm of Pattis and Smith, LLC in this
matter, and Attorney Norm Pattis has an appearance on his behalf in this matter. I am no
longer employed by Pattis and Smith, LLC.

       I have contacted all counsel of record in this matter for their position on my request,
and they have no objection to it. Mr. Khan himself reminded me to withdraw my
appearance once the case returned from the Connecticut Supreme Court. Thus, he has
also been apprised of this request.

       For these reasons, I respectfully request that my appearance on behalf of Mr. Khan
be terminated. Thank you!

                                                  Regards,


                                                  Cameron L. Atkinson, Esq.

CC: All counsel of record via CM/ECF
